
Per Curiam.
This is a motion to set aside an award on the ground that one of the referees admitted an exparts hearing.
It appears the referees had met in the performance of their business^ — both parties had access to them. The affidavit of Atkinson and the reteree negative the idea of secrecy, and «« as far as they can remember,55 deny the very facts sworn by Townley. The affidavit of the defendant, on the face of it, does not raise more than a suspicion, certainly does not prove 'partiality or corruption. Awards should not be set aside on the suspicion of the interested party. If the affidavit had been full and explicit, we do not think the uncorroborated affidavit of the party against whom the award is given 'Would be sufficient to justify us in setting it aside.
Rule discharged with costs.
